AO 450 (Rev. 11/11) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT                                                      FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
           OTR WHEEL ENGINEERING, INC.,
                                                                                                               Mar 10, 2023
            BLACKSMITH OTR, LLC, AND                                                                               SEAN F. MCAVOY, CLERK

              F.B.T. ENTERPRISES, INC                                )
                             Plaintiffs                              )
                                v.                                   )       Civil Action No. 2:14-cv-00085-LRS
WEST WORLDWIDE SERVICES, INC., and SAMUEL J.                         )
  WEST, individually and his marital community, SSL                  )
 Holdings, Inc., SSL Global, Inc., SSL China LLC, and
             Qingdao STW Tire Co., Ltd.
                            Defendants
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to the Court's order entered on March 10, 2023 at ECF No. 880; in addition to the judgment amount of
’
              $967,015.00, Defendant is liable for attorney fees in the amount of $1,183,717.45, and costs in the amount of
              $23,729.87, for a total liability of $2,174,462.32.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                        Lonny R. Suko




Date: 3/10/2023                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                            Courtney Piazza
